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       Exhibit B
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                                              CAUSE         O. 1:23-CV-11802-lT

CHARLEJ M. MURRELL III                                           s                                             IN THE COURT OF
                                                                 s
                         Plaintiff,                              5
vs.                                                              5                                   COUNTY, MASSACHUSETTS
                                                                 s
PATRIOT FRONT, ET AL.                                            s
                        Defendant.                               5     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                                                                                               MASSACHUSETTS


                                            AFFIDAV          OF DUE DILIGENCE

On this    ay personally appeared 5abrina Hilt who,         ng by me duly sworn, deposed and said:

"The foll wing came to hand on Aug 18,2023,9:17

                                        SUMMONS IN          CIVIL ACTION; COMPLAINT; ,


for delivpr) to PATRIoT FRoNT c/o Thomas

1) Unsuc[essful Attempt: Aug22,2023, 11 :56 am C            at                        , Haslet, TX76052
I knocke$ a few times, and the door went unanswe             I left my contact information attached to the door. There is a For
Rent sigd in the front of the house (sKK0628 Regist        nts: Robert Berry, Robert Berry, l, SR). Tried to speak with the
             but no one answered           the             at                     and they didn't know who lived there.

2) Unsucfessful Attempt: Aug26,2023,2:44 pm CDT                                      , Haslet, TXl6052
My previf us call back request business card I left atti        has been removed. I left another business card, whlch
contains                                                     door. I did not get an answer at the door once again.

3) Unsuclessful Attempt: Aug 29, 2023, 6:43 pm CDT at                                , Haslet, TX 76052
The call $ack request card was removed from the             attempt. I spoke to the neighbors, and they do not know who lives
or           at 1                     .

4) Unsuclessful Attempt: Sep 1, 2023, 7:12 am CDT a[                          , Haslet, TX 76052
The           business card I left attached to the door has been removed. I left another call back request card attached
to the     . There was not answer at knock on the dpor.


lam a           over eighteen (18) years of age and I am competent to make this affidavit. I am a resident of the State of
Texas, lfm familiar with the Texas Rules of Civil Procedure as they applyto service of Process. lam not a partyto this
suit nor r|elated or affiliated with any herein, and have no interest in the outcome of the suit. I have never been
convicte$ of a felony or of a misdemeanor involving            turpitude. I have personal knowledge of the facts stated
                                                        fnoral
herein afd they are true and correct."
     Case 1:23-cv-11802-IT Document 17-2 Filed 11/02/23 Page 3 of 3




                                                              PSC 21968 EXP 03/31/2025


ME, a Notary Public, on this day personally peared Sabrina Hilt, known to nre to be the person whose name
    to the foregoing document and, bei    by me first duly sworn, declared that the statements therein
 are within his or her personal knowledge     are true and correct.

                                              023




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